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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

NICHOLAS FRAZIER, et al.                                                               PLAINTIFF

v.                                 Case No. 4:20-cv-00434 KGB

WENDY KELLEY, et al.                                                               DEFENDANTS

                                             ORDER

       Before the Court is the parties’ joint stipulation of dismissal of Governor Asa Hutchinson

from this action without prejudice (Dkt. No. 106). The parties further stipulate to dismissal without

prejudice of all claims by plaintiffs Charles Czarnetski, Aaron Elrod, and Alvin Hampton. The

stipulation accords with the terms of Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

       For good cause shown, the Court adopts the stipulation of dismissal. Governor Asa

Hutchinson is dismissed from this action without prejudice. Further, all claims by plaintiffs

Charles Czarnetski, Aaron Elrod, and Alvin Hampton are dismissed without prejudice.

       It is so ordered this 16th day of October, 2020.


                                                      ________________________________
                                                      Kristine G. Baker
                                                      United States District Judge
